883 F.2d 69Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Troussant Delano LETT, Plaintiff-Appellant,v.Sheriff DORSEY, Sheriff's Department, Williamsburg/JamesCity, Defendants-Appellees.
    No. 89-7573.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 12, 1989.Decided Aug. 7, 1989.
    
      Troussant Delano Lett, appellant pro se.
      Robert De Hardit Hicks , Martin, Hicks &amp; Ingles, LTD, for appellee.
      Before WIDENER, MURNAGHAN, and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      Troussant Delano Lett appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Lett v. Dorsey, C/A No. 88-627-R (E.D.Va. Mar. 14, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the material before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    